Brown and Seelye                                                                                                             INVOICE
1700 Cooper Point Rd SW #C5
                                                                                                                      Issue Date   9/11/2020
Olympia, Washington 98502
stopdebt@gmail.com
www.BrownandSeelye.com
O: 2533760383


Bill To:
Stoker, Donaubrey & Stephanie




Time Entries


 Time Entries                                                                                 Billed By      Rate     Hours           Sub
 First In Office Appointment                                                                  Ellen Brown   $375.00      1.00       $375.00
 3/10/2018
 Evaluate client case; review all options with client; Do Means Test to ensure eligibility;
 check previous filing dates if applicable; review information provided by client


 Second Appointment                                                                           Ellen Brown   $375.00      1.00       $375.00
 3/12/2018
 Complete client questionnaire; Review all documents provided by client; review pay
 advices; review bank statements; review bills with client


 Draft and Prepare Schedules                                                                  Ellen Brown   $375.00      2.00       $750.00
 3/17/2018


 Phone Call                                                                                   Ellen Brown   $375.00      0.50       $187.50
 3/28/2018
 Phone Call with client regarding paystubs and items needed and information to
 complete drafts


 Phone Call                                                                                   Ellen Brown   $375.00      0.10        $37.50
 4/9/2018
 Phone Call from One Main Financial


 Review Appointment                                                                           Ellen Brown   $375.00      1.00       $375.00
 4/12/2018
 Review Statements and Schedules and Plan with client; make any changes; go over
 bankruptcy information sheet and office disclosures; discuss mechanics of Chapter 13
 and what happens now; discuss 341 meeting and documents (4002) needed for the
 court


 Finalize case & File with Court                                                              Ellen Brown   $375.00      0.50       $187.50
 4/12/2018


 Correspondence                                                                               Ellen Brown   $375.00      0.50       $187.50
 4/12/2018
 Correspondence to Trustee re: water damage to home and clients living in hotel and
 status of remodeling and Plan provisions


 Amend Schedules                                                                              Ellen Brown   $375.00      0.50       $187.50
 4/13/2018
 Amend Statements and Schedules Voluntary Petition
Time Entries                                                           Billed By      Rate     Hours      Sub
Prepare and File                                                       Ellen Brown   $375.00     1.00   $375.00
4/16/2018
Motion to Correct Spelling of Joint Debtor's Name


Review Proof of Claim                                                  Ellen Brown   $375.00     0.10    $37.50
4/17/2018
Review Proof of Claim filed by creditor One Main Financial


Review Proof of Claim                                                  Ellen Brown   $375.00     0.10    $37.50
4/17/2018
Review Proof of Claim filed by creditor Les Schwab Tire


Review Proof of Claim                                                  Ellen Brown   $375.00     0.10    $37.50
4/18/2018
Review Proof of Claim filed by creditor One Main


Review Proof of Claim                                                  Ellen Brown   $375.00     0.10    $37.50
4/19/2018
Review Proof of Claim filed by creditor IRS


Review Proof of Claim                                                  Ellen Brown   $375.00     0.10    $37.50
4/24/2018
Review Proof of Claim filed by creditor Olympic Collections


Phone Call                                                             Ellen Brown   $375.00     0.20    $75.00
4/25/2018
Phone Call to client re: Les Schwab c laim is secured


Prepare and File                                                       Ellen Brown   $375.00     0.50   $187.50
4/26/2018
Amended Schedule B


Meeting with Clients                                                   Ellen Brown   $375.00     1.00   $375.00
4/30/2018
Review property damage, photos and reports; review Objection to Plan


Email                                                                  Ellen Brown   $375.00     0.50   $187.50
4/30/2018
From and to Trustee re: Plan and house damage


Prepare and File                                                       Ellen Brown   $375.00     0.20    $75.00
5/1/2018
Amendment to Scheudles A/B, C


Review Proof of Claim                                                  Ellen Brown   $375.00     0.10    $37.50
5/8/2018
Review Proof of Claim filed by creditor Montgomery Ward


Review                                                                 Ellen Brown   $375.00     0.50   $187.50
5/8/2018
Trustee question sheet and call to clients


Amend Schedules                                                        Ellen Brown   $375.00     0.50   $187.50
5/8/2018
Amend Statements and Schedules A/B, C & CMI


Attend Court                                                           Ellen Brown   $375.00     1.00   $375.00
5/10/2018
341 Meeting of Creditors


Amended Plan: Prepare and File                                         Ellen Brown   $375.00     0.50   $187.50
5/10/2018
Draft and File Amended Plan
Time Entries                                                Billed By                  Rate     Hours         Sub
Review Proof of Claim                                       Ellen Brown              $375.00      0.10      $37.50
5/11/2018
Review Proof of Claim filed by creditor NPRTO West


Review Proof of Claim                                       Ellen Brown              $375.00      0.10      $37.50
5/21/2018
Review Proof of Claim filed by creditor Plain Green Loans


Review                                                      Ellen Brown              $375.00      0.50     $187.50
5/30/2018
Objection to Plan and call to clients


Prepare and File                                            Ellen Brown              $375.00      1.00     $375.00
5/31/2018
Response to Objection to Plan


Review Proof of Claim                                       Ellen Brown              $375.00      0.10      $37.50
6/1/2018
Review Proof of Claim filed by creditor BECU


Amend Schedules                                             Ellen Brown              $375.00      0.50     $187.50
6/2/2018
Amend Statements and Schedules A/B, C


Amend Schedules                                             Ellen Brown              $375.00      0.30     $112.50
6/2/2018
Amend Statements and Schedules CMI


Review Proof of Claim                                       Ellen Brown              $375.00      0.20      $75.00
6/18/2018
Review Proof of Claim filed by multiple creditors


Amended Plan: Prepare and File                              Ellen Brown              $375.00      1.00     $375.00
6/18/2018
Draft and File Amended Plan


Review                                                      Ellen Brown              $375.00      0.10      $37.50
6/23/2018
Order Confirming Plan Docket #42


Discount                                                                            $3,062.50    -1.00   $-3,062.50
9/11/2020
Courtesy Discount


                                                                           Time Entries Total    16.50   $3,500.00




                                                                     Total (USD)                         $3,500.00

                                                                             Paid                            $0.00

                                                                          Balance                        $3,500.00
